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                      IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF NEBRASKA


IN RE:                                            ) Case No: BK 11- 80953
                                                  )
SANITARY AND IMPROVEMENT                          )               CHAPTER 9
DISTRICT NO. 517 OF DOUGLAS                       )          PLAN OF ADJUSTMENT
                                                  )
COUNTY, NEBRASKA                                  )
                                                  )




         This Plan of Adjustment (“Plan”) is proposed and made by Sanitary and Improvement
District No. 517 of Douglas County, Nebraska (“SID #517” or the “District”).
         1. Warrant Holders. (a) Class “A” Warrant Holders. This class of creditors consists
of all parties who presently own construction fund “warrants” identified on Schedule “1” and any
interest warrants issued in payment for accrued interest thereon which are designated as Class
“A” Warrants. (b) Class “B” Warrant Holders. This class of creditors consists of all parties
who presently own construction fund “warrants” identified on Schedule “1” and any interest
warrants issued in payment for accrued interest thereon which are designated as Class “B”
Warrants. There are also general fund warrants used to pay the day to day and administrative
requirements of the District that are not part of this class of creditors and who’s claims are not
impaired. There are no other creditors of SID #517 except those persons or entities performing
services for the District and the holders of sanitary and improvement district bonds which bonds
have statutory priority pursuant to Nebraska Revised Statutes Sec. 31-755, prior Court rulings
and entitled to priority payment under 11 U.S.C. 503 et. seq. Provided that said creditors of SID
#517 release their claims against SID #517 as set forth herein, SID #517 will deliver funds of the
District in the amount and in the manner as set forth in paragraphs 4 and 5 below in full
settlement of such creditor’s claims. The claims of members of these classes of creditors are
impaired under this Plan.
         2. Execution of Plan of Adjustment. Upon confirmation of this Plan of Adjustment, SID
#517 will execute and deliver to the disbursing agent appointed by the Court the funds described
in paragraphs 4 and 5 from time to time in the manner described therein.


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        This Plan requires the holders of the warrants set forth on Schedule “1” to deliver to SID
#517 and/or the disbursing agent appointed by the Court, within a reasonable period of time after
confirmation of the Plan, the described warrants (including interest warrants) for cancellation
and exchange for Certificate of Indebtedness as provided in paragraph 5 below. The Bankruptcy
Court will be requested as part of the order confirming this Plan to require delivery of warrants
as set forth herein. No payment shall be made by the disbursing agent to any creditor unless said
disbursing agent has received the applicable warrant(s) and/or an affidavit of lost or stolen
security and indemnification thereon and authenticated a Certificate of Indebtedness.
Furthermore, in order to assure that said creditors cannot continue to hold their warrants with a
view towards having them redeemed by the Treasurer of Douglas County, Nebraska, all such
warrants not delivered to the disbursing agent within six months from the date of confirmation of
this Plan shall be deemed cancelled and of no further force and effect and the Court shall be
requested in its order confirming the Plan to restrain the Douglas County Treasurer from paying
or redeeming such warrants.
        3. Administrative Costs. The only administrative costs thus far have been for services
and out of pocket expenses of the District’s legal counsel, Fullenkamp Doyle & Jobeun. Said
counsel has not received any payment on account of such services or out-of-pocket expenses. To
date, legal services rendered based on the agreed upon rate of $250/hour total $15,000.00 and the
out-of-pocket expenses are estimated to be approximately $5,000.00. All such legal fees and
expenses together with such additional administrative costs and expenses as are incurred herein,
including fees of Baird Holm LLP, as Bond Counsel and D.A. Davidson as Fiscal Agent and
Bond Underwriter, shall be paid from the District’s construction/bond fund and shall be paid
prior to any disbursements pursuant to paragraphs 4 or 5 below. Administrative costs shall be
paid directly by the Douglas County Treasurer from the bond fund cash of the District upon
presentment by the District Counsel or other administrative entity entitled to payment and
verified by the District's fiscal agent.
        4. Initial Cash Disbursement. SID #517 shall, within 90 days following the date of
confirmation of this Plan by the Bankruptcy Court or delivery of warrants to the disbursing agent
as set forth in paragraph 2, whichever shall occur later, deliver to the disbursing agent appointed
by the Court all the cash and investments with accrued interest thereon on deposit in SID #517's
construction/bond fund less a) the paragraph 3 administrative costs and any disbursing agent



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fees; b) a transfer to the general (operating) fund of SID #517 of an amount necessary to bring
the general fund current and on a cash basis as recommended by the fiscal agent; and c) a bond
sinking fund to support all the district’s general obligation bonds issued December 15, 2007 in
the original amount of $1,250,000 which are due serially beginning December 15, 2008 and
annually thereafter through December 15, 2027 a payment and bond sinking fund requirement
pro-forma is attached hereto a Schedule “2” . The remaining funds shall be paid out to all (both
Class “A” and “B”) the holders of certificates of indebtedness as set forth in Paragraph 5 below
based upon their pro-rata share as shown on Schedule “1” and as may be adjusted in accordance
with the delivery of warrants to the disbursing agent and any cancellation of warrants thereon.
The initial distribution to the holders of the Certificates of Indebtedness will not occur until the
earlier of either the delivery of all of the warrants to the disbursing agent or the end of the
warrant return period as set forth in Paragraph 2 and 5 of this Plan.


       5. Warrants and Payments. All warrants delivered to the disbursing agent shall be
cancelled upon the authentication of a Certificate of Indebtedness for such warrant. Each warrant
holder will be given a Certificate of Indebtedness from the disbursing agent evidencing their
Class “A” or Class “B” pro-rata share of the paragraph 5 payments to be made by the District in
accordance with this Plan. The first payment under the Certificate of Indebtedness will be the
initial disbursement as set forth in paragraph 4 (both Class “A” and “B”) above. Interest shall
cease being accrued on the warrants on the last day of the month wherein the confirmation of the
plan occurs. Each Certificate of Indebtedness (both Class “A” and “B”) shall accrue interest
beginning the first day of the first month after the confirmation of the Plan by the United States
Bankruptcy Court for the District of Nebraska at the rate of five (5%) percent per annum simple
interest on the outstanding principal balance. All payments made pursuant to this Plan shall
first be applied to payment of principal.           SID #517 and/or the disbursing agent shall
thereafter, subject to the prior limitations and cancellation provision set forth herein, within 45
days following the balancing of SID #517's books by the Douglas County Treasurer as of
December 31 of each year, or in addition thereto additional distributions as SID #517’s Board of
Trustees may determine deliver to each Class “A” and “B” Warrant Holder his/her/its
Schedule 1 pro-rata as shown on Schedule 1 of any funds on deposit with the Douglas County
Treasurer in SID #517's construction/bond fund except any bond payment and/or sinking fund



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requirements of paragraph 5(c) below from:


       (a)       The collection of any and all special assessments levied by SID #517
       against properties located within its corporate boundaries together with any
       miscellaneous revenues, which by law, custom or usage are deposited in a
       sanitary, and improvement district construction/bond funds.
       (b) Any ad valorem real estate taxes collected from a construction/bond fund levy
       of:
             1. $0.90/ $100 of actual valuation less:
                  a) $0.40/ $100 of actual valuation or $90,000 for the year 2010/2011
       fiscal year increased annually thereafter at the rate of 2.5% per annum, whichever
       is less, which monies shall be deposited in the District’s general fund;
                  b) any additional amount above the subparagraph a) amount certified to
       by the District’s engineer to be necessary for extraordinary repairs and/or
       reconstruction to and/or replacement of the District’s Regional Lift Station and
       Force Main. In no event however shall the construction/bond fund levy together
       with the above specified general fund levy exceed $0.90 per $100 of assessed
       valuation,
       (c)       The net proceeds from the issuance by SID #517 of bonds as directed by
       D.A. Davidson & Co. (“DAD”) the District's fiscal agent or its successors and
       assigns from time to time, which bond issues, whether one or more shall be
       mandatorily issued and sold by SID #517 at such times and in an amount which
       can be issued and sold on a level payment basis over a period of twenty-five (25)
       years, reserving a bond sinking fund equal to one and ½ year’s principal and
       interest requirement, and amortized using the proceeds of an ad valorem tax levy
       in the amount as set forth in subparagraph (b) above on the then current SID #
       517's tax base (exclusive of any tax base used to support any paragraph 4 c)
       and/or prior 5(c) bond issue) to pay the principal and interest on such bonds on a
       year to year basis.      Such bonds shall be issued prior to December 31, 2025 as
       directed by DAD and the disbursing agent.
At such time as the Certificates of Indebtedness for the Class “A” Warrant Holders



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have been paid in full then payments shall be made to the Class “B” Warrant Holders
in the same manner and to the same extent and upon the same terms and conditions as are
set forth above for the Class “A” Warrant Holders.


       AT THE EARLIER OF THE DATE THE NET PROCEEDS FROM
       PARAGRAPHS 5(A) THROUGH (C) SHALL BE SUFFICIENT TO PAY ALL
       THE CERTIFICATES OF INDEBTEDNESSOR DECEMBER 31, 2025. ALL
       CERTIFICATES OF INDEBTEDNESS SHALL BE CANCELLED AND NO
       FURTHER PAYMENTS ON ACCOUNT THEREOF WILL BE MADE.
       During any year-end, except the year 2025, in which the amounts to be disbursed
pursuant to this Plan do not exceed $100,000 then such funds shall be invested at the discretion
of DAD and disbursed at the next payment date at which the amounts on hand exceed $100,000.
       The disbursing agent shall provide each warrant holder an accounting for each
disbursement made. The disbursing agent shall be entitled to fair and reasonable compensation
for acting as the disbursing agent which amount, when approved by the Board of Trustees of SID
#517, may be paid for from the construction/bond fund of SID #517. SID #517 proposes to use
Bankers Trust Company, NA, 10250 Regency Circle, Suite 115; Omaha, Nebraska 68114.
       Bonds, Certificate's of Indebtedness or any other form of security which will be offered
and sold by means of and in accordance with offering circulars under the Plan of Adjustment
pursuant to and for the purposes of 11 U.S.C. Section 1125(e). SID #517; DAD; Baird Holm
LLP or such future bond counsel as the case may be; Fullenkamp Doyle & Jobeun, counsel for
SID #517; Lutz & Company, P.C., its auditor; and SID #517's Board of Trustees have all acted
in good faith and in compliance with the applicable provisions of the Bankruptcy Code and are
entitled to protection of 11 U.S.C. Section 1125(e).
       6. Confirmation. It is anticipated that this Plan shall be confirmed by the United States
Bankruptcy Court for the District of Nebraska and therefore be binding on you in the event that it
is accepted by more than 50% of the number of creditors holding more than 66.67% of the
outstanding voting dollar debt.




       Dated: _ 04/15/2011____________.



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                                          SANITARY   AND    IMPROVEMENT
                                          DISTRICT NO. 517 OF DOUGLAS
                                          COUNTY, NEBRASKA,


                                          By:__/s/Brian C. Doyle_________________
                                                 Brian C. Doyle (#23001)
                                                 Fullenkamp, Doyle & Jobeun
                                                 11440 West Center Road
                                                 Omaha, Nebraska 68144
                                                 (402) 334-0700
                                                 Fax: (402)-334-0815
                                                 brian@fdjlaw.com
                                                 Attorney for said Debtor




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D.A. Davidson & Co.                                                                           SCHEDULE	  "1"
SID #517
Warrant Holders



CLASS	  "A"	  WARRANT	  HOLDERS                     12/31/10                                  12/31/2010                       CERTIFICATE                                                 Initial                      Ongoing
                                                       Warrant                                    Warrant                           AMOUNT        Class A       Class A        Initial     Distribution    Ongoing       Distribution
        Account                                        Principal                                  Interest                          12/31/10     Percentage   Cummulative   Distribution   Cummulative    Distribution   Cummulative
        Name                                           Balance                                    Balance                            Total       Ownership     Ownership    Percentage      Percentage    Percentage      Percentage

    1   DANIEL J HIRSCHFELD                  $	  	  	  	  	  	  709,540.15
                                                                      	                      $	  	  	  	  44,286.68              $753,827       14.40%        14.40%        12.49%         12.49%         13.88%         13.88%
    2   THE BANK OF NEW YORK MELLON          $	  	  	  	  	  	  519,873.60
                                                                      	                      $	  	  	  	  32,448.86              $552,322       10.55%        24.96%         9.15%         21.63%         10.17%         24.05%
    3   RBC WEALTH MANAGEMENT                $	  	  	  	  	  	  499,781.65
                                                                      	                      $	  	  	  	  31,194.77              $530,976       10.15%        35.10%         8.79%         30.43%          9.78%         33.82%
    4   PERSHING LLC                         $	  	  	  	  	  	  282,781.82
                                                                      	                      $	  	  	  	  17,650.12              $300,432        5.74%        40.84%         4.98%         35.40%          5.53%         39.36%
    5   EXCHANGE BANK                        $	  	  	  	  	  	  258,408.45
                                                                      	                      $	  	  	  	  16,128.83              $274,537        5.25%        46.09%         4.55%         39.95%          5.05%         44.41%
    6   TIMOTHY L ONEILL TTEE                $	  	  	  	  	  	  216,066.72
                                                                      	                      $	  	  	  	  13,486.05              $229,553        4.39%        50.48%         3.80%         43.75%          4.23%         48.64%
    7   JAMES C CRIPE                        $	  	  	  	  	  	  160,500.00
                                                                      	                      $	  	  	  	  10,017.77              $170,518        3.26%        53.73%         2.82%         46.58%          3.14%         51.78%
    8   HOWARD DREW TTEE                     $	  	  	  	  	  	  145,790.54
                                                                      	                      $	  	  	  	  	  	  9,099.69
                                                                                                                       	             $154,890        2.96%        56.69%         2.57%         49.14%          2.85%         54.63%
    9   INVENTORY                            $	  	  	  	  	  	  136,189.05
                                                                      	                      $	  	  	  	  	  	  8,500.40
                                                                                                                       	             $144,689        2.76%        59.46%         2.40%         51.54%          2.66%         57.29%
   10   MARY L TRAUDT TTEE                   $	  	  	  	  	  	  133,750.00
                                                                      	                      $	  	  	  	  	  	  8,348.14
                                                                                                                       	             $142,098        2.72%        62.17%         2.35%         53.89%          2.62%         59.91%
   11   STEVE SAYLAN                         $	  	  	  	  	  	  133,750.00
                                                                      	                      $	  	  	  	  	  	  8,348.14
                                                                                                                       	             $142,098        2.72%        64.89%         2.35%         56.25%          2.62%         62.53%
   12   GEORGE L BUTLER                      $	  	  	  	  	  	  107,000.00
                                                                      	                      $	  	  	  	  	  	  6,678.51
                                                                                                                       	             $113,679        2.17%        67.06%         1.88%         58.13%          2.09%         64.62%
   13   DUANE HAVRDA                         $	  	  	  	  	  	  	  	  	  96,300.00   $	  	  	  	  	  	  6,010.66
                                                                                                                       	             $102,311        1.95%        69.02%         1.69%         59.82%          1.88%         66.50%
   14   JOY A SOMMERHALDER TTEE              $	  	  	  	  	  	  	  	  	  80,250.00   $	  	  	  	  	  	  5,008.88
                                                                                                                       	              $85,259        1.63%        70.65%         1.41%         61.24%          1.57%         68.07%
   15   RODNEY VANDEBERG                     $	  	  	  	  	  	  	  	  	  80,250.00   $	  	  	  	  	  	  5,008.88
                                                                                                                       	              $85,259        1.63%        72.27%         1.41%         62.65%          1.57%         69.64%
   16   D A DAVIDSON & CO AS CUST FOR        $	  	  	  	  	  	  	  	  	  76,437.71   $	  	  	  	  	  	  4,770.95
                                                                                                                       	              $81,209        1.55%        73.83%         1.35%         63.99%          1.50%         71.14%
   17   LOUIS A RICH TTEE TTEE               $	  	  	  	  	  	  	  	  	  76,215.03   $	  	  	  	  	  	  4,757.04
                                                                                                                       	              $80,972        1.55%        75.37%         1.34%         65.33%          1.49%         72.63%
   18   RICHARD B PETERSON TTEE              $	  	  	  	  	  	  	  	  	  69,550.00   $	  	  	  	  	  	  4,341.04
                                                                                                                       	              $73,891        1.41%        76.79%         1.22%         66.56%          1.36%         73.99%
   19   TOM A WIESE TTEE                     $	  	  	  	  	  	  	  	  	  64,200.00   $	  	  	  	  	  	  4,007.11
                                                                                                                       	              $68,207        1.30%        78.09%         1.13%         67.69%          1.26%         75.24%
   20   MARLENE K GERHARD                    $	  	  	  	  	  	  	  	  	  60,769.24   $	  	  	  	  	  	  3,792.98
                                                                                                                       	              $64,562        1.23%        79.32%         1.07%         68.76%          1.19%         76.43%
   21   BRUCE W FROENDT                      $	  	  	  	  	  	  	  	  	  53,500.00   $	  	  	  	  	  	  3,339.26
                                                                                                                       	              $56,839        1.09%        80.41%         0.94%         69.70%          1.05%         77.48%
   22   DONALD J SHEETS                      $	  	  	  	  	  	  	  	  	  53,500.00   $	  	  	  	  	  	  3,339.26
                                                                                                                       	              $56,839        1.09%        81.49%         0.94%         70.64%          1.05%         78.53%
   23   JAMES A PARRISH                      $	  	  	  	  	  	  	  	  	  53,500.00   $	  	  	  	  	  	  3,339.26
                                                                                                                       	              $56,839        1.09%        82.58%         0.94%         71.58%          1.05%         79.57%
   24   JOHN D SOMMERHALDER                  $	  	  	  	  	  	  	  	  	  50,000.00   $	  	  	  	  	  	  3,120.80
                                                                                                                       	              $53,121        1.02%        83.60%         0.88%         72.46%          0.98%         80.55%
   25   MARGARET JONES                       $	  	  	  	  	  	  	  	  	  53,500.00   $	  	  	  	  	  	  3,339.26
                                                                                                                       	              $56,839        1.09%        84.68%         0.94%         73.40%          1.05%         81.60%
   26   MARVIN F OBERG                       $	  	  	  	  	  	  	  	  	  53,500.00   $	  	  	  	  	  	  3,339.26
                                                                                                                       	              $56,839        1.09%        85.77%         0.94%         74.34%          1.05%         82.64%
   27   CHERYL K SCHUKEI                     $	  	  	  	  	  	  	  	  	  42,800.00   $	  	  	  	  	  	  2,671.41
                                                                                                                       	              $45,471        0.87%        86.64%         0.75%         75.10%          0.84%         83.48%
   28   EILEEN J BOYLE TTEE                  $	  	  	  	  	  	  	  	  	  42,800.00   $	  	  	  	  	  	  2,671.41
                                                                                                                       	              $45,471        0.87%        87.51%         0.75%         75.85%          0.84%         84.32%
   29   FIRST NATIONAL BANK OF OMAHA         $	  	  	  	  	  	  	  	  	  42,800.00   $	  	  	  	  	  	  2,671.44
                                                                                                                       	              $45,471        0.87%        88.37%         0.75%         76.60%          0.84%         85.16%
   30   J G VERZAL POD                       $	  	  	  	  	  	  	  	  	  40,394.80   $	  	  	  	  	  	  2,521.29
                                                                                                                       	              $42,916        0.82%        89.19%         0.71%         77.31%          0.79%         85.95%
   31   STEVEN NATHAN                        $	  	  	  	  	  	  	  	  	  38,975.88   $	  	  	  	  	  	  2,432.72
                                                                                                                       	              $41,409        0.79%        89.99%         0.69%         78.00%          0.76%         86.71%
   32   JERRY J SIMON                        $	  	  	  	  	  	  	  	  	  37,606.86   $	  	  	  	  	  	  2,347.27
                                                                                                                       	              $39,954        0.76%        90.75%         0.66%         78.66%          0.74%         87.44%
   33   DAVID A SAYLAN                       $	  	  	  	  	  	  	  	  	  28,925.76   $	  	  	  	  	  	  1,805.43
                                                                                                                       	              $30,731        0.59%        91.34%         0.51%         79.17%          0.57%         88.01%
   34   ANGELINE M LANGERMAN                 $	  	  	  	  	  	  	  	  	  26,750.00   $	  	  	  	  	  	  1,669.63
                                                                                                                       	              $28,420        0.54%        91.88%         0.47%         79.64%          0.52%         88.53%
   35   GERALD L LANGERMAN                   $	  	  	  	  	  	  	  	  	  26,750.00   $	  	  	  	  	  	  1,669.63
                                                                                                                       	              $28,420        0.54%        92.42%         0.47%         80.11%          0.52%         89.06%
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  36   JOSEPH P CANIGLIA                  $	  	  	  	  	  	  	  	  	  26,750.00          $	  	  	  	  	  	  1,669.63
                                                                                                                           	                          $28,420   0.54%    92.96%   0.47%     80.58%     0.52%   89.58%
  37   MILTON SAYLAN                      $	  	  	  	  	  	  	  	  	  26,750.00          $	  	  	  	  	  	  1,669.63
                                                                                                                           	                          $28,420   0.54%    93.51%   0.47%     81.05%     0.52%   90.10%
  38   WILLIAM F MCVEY                    $	  	  	  	  	  	  	  	  	  26,750.00          $	  	  	  	  	  	  1,669.63
                                                                                                                           	                          $28,420   0.54%    94.05%   0.47%     81.52%     0.52%   90.63%
  39   JULIA M AMIES TTEE                 $	  	  	  	  	  	  	  	  	  23,269.19          $	  	  	  	  	  	  1,452.38
                                                                                                                           	                          $24,722   0.47%    94.52%   0.41%     81.93%     0.46%   91.08%
  40   FRANCES L BUSHEY                   $	  	  	  	  	  	  	  	  	  21,400.00          $	  	  	  	  	  	  1,335.70
                                                                                                                           	                          $22,736   0.43%    94.96%   0.38%     82.31%     0.42%   91.50%
  41   FRED H DOUGLAS                     $	  	  	  	  	  	  	  	  	  21,400.00          $	  	  	  	  	  	  1,335.70
                                                                                                                           	                          $22,736   0.43%    95.39%   0.38%     82.69%     0.42%   91.92%
  42   MARILYN G TIERNAN                  $	  	  	  	  	  	  	  	  	  21,400.00          $	  	  	  	  	  	  1,335.70
                                                                                                                           	                          $22,736   0.43%    95.83%   0.38%     83.06%     0.42%   92.34%
  43   LYNN D GRANT                       $	  	  	  	  	  	  	  	  	  21,295.65          $	  	  	  	  	  	  1,329.20
                                                                                                                           	                          $22,625   0.43%    96.26%   0.37%     83.44%     0.42%   92.75%
  44   ILA J BRATETIC                     $	  	  	  	  	  	  	  	  	  20,995.32          $	  	  	  	  	  	  1,310.44
                                                                                                                           	                          $22,306   0.43%    96.69%   0.37%     83.81%     0.41%   93.16%
  45   BETSY JO REED SUCCESSOR TTEE       $	  	  	  	  	  	  	  	  	  16,050.00          $	  	  	  	  	  	  1,001.78
                                                                                                                           	                          $17,052   0.33%    97.01%   0.28%     84.09%     0.31%   93.48%
  46   CASIMIR J STUREK TTEE              $	  	  	  	  	  	  	  	  	  16,050.00          $	  	  	  	  	  	  1,001.78
                                                                                                                           	                          $17,052   0.33%    97.34%   0.28%     84.37%     0.31%   93.79%
  47   CHRISTENE A NISH                   $	  	  	  	  	  	  	  	  	  16,050.00          $	  	  	  	  	  	  1,001.78
                                                                                                                           	                          $17,052   0.33%    97.66%   0.28%     84.65%     0.31%   94.11%
  48   D A DAVIDSON & CO AS CUST FOR      $	  	  	  	  	  	  	  	  	  16,050.00          $	  	  	  	  	  	  1,001.78
                                                                                                                           	                          $17,052   0.33%    97.99%   0.28%     84.94%     0.31%   94.42%
  49   DAVE KRUEGER                       $	  	  	  	  	  	  	  	  	  16,050.00          $	  	  	  	  	  	  1,001.78
                                                                                                                           	                          $17,052   0.33%    98.31%   0.28%     85.22%     0.31%   94.73%
  50   FRED HENDRICKS                     $	  	  	  	  	  	  	  	  	  16,050.00          $	  	  	  	  	  	  1,001.78
                                                                                                                           	                          $17,052   0.33%    98.64%   0.28%     85.50%     0.31%   95.05%
  51   HUBERT H FRIEDMAN TTEE             $	  	  	  	  	  	  	  	  	  16,050.00          $	  	  	  	  	  	  1,001.78
                                                                                                                           	                          $17,052   0.33%    98.97%   0.28%     85.78%     0.31%   95.36%
  52   J YVETTE ELMORE                    $	  	  	  	  	  	  	  	  	  16,050.00          $	  	  	  	  	  	  1,001.78
                                                                                                                           	                          $17,052   0.33%    99.29%   0.28%     86.07%     0.31%   95.68%
  53   NATIONAL FINANCIAL SERVICES LLC    $	  	  	  	  	  	  	  	  	  16,050.00          $	  	  	  	  	  	  1,001.78
                                                                                                                           	                          $17,052   0.33%    99.62%   0.28%     86.35%     0.31%   95.99%
  54   DEBRA SCHAEFER                     $	  	  	  	  	  	  	  	  	  	  	  5,350.00   $	  	  	  	  	  	  	  	  	  	  333.93       $5,684   0.11%    99.73%   0.09%     86.44%     0.10%   96.09%
  55   BARBARA K BRADY TTEE               $	  	  	  	  	  	  	  	  	  	  	  4,728.71   $	  	  	  	  	  	  	  	  	  	  295.15       $5,024   0.10%    99.82%   0.08%     86.53%     0.09%   96.19%
  56   DELPHIN L SOMMERHALDER TTEE        $	  	  	  	  	  	  	  	  	  	  	  3,500.00   $	  	  	  	  	  	  	  	  	  	  218.46       $3,718   0.07%    99.89%   0.06%     86.59%     0.07%   96.26%
  57   D A DAVIDSON & CO AS CUST FOR      $	  	  	  	  	  	  	  	  	  	  	  3,165.47   $	  	  	  	  	  	  	  	  	  	  197.58       $3,363   0.06%    99.96%   0.06%     86.64%     0.06%   96.32%
  58   JOHN E KUEHL                       $	  	  	  	  	  	  	  	  	  	  	  2,091.11   $	  	  	  	  	  	  	  	  	  	  130.52       $2,222   0.04%   100.00%   0.04%     86.68%     0.04%   96.36%
                                          $	  	  	  4,926,002.71                               $	  	  307,462.50 $	  5,233,465.21           	  
CLASS	  "B"	  WARRANT	  HOLDERS
  59 THE HAMPTONS LAND DEVELOPMENT LLC    $                 756,979.83                            $      47,247.66                           $804,227                              13.32%   100.00%     3.64%   100.00%

                                          $	  	  	  5,682,982.54 $	  	  354,710.16 $	  6,037,692.70
                                                                                             	  
                               Case 11-80953-TLS                     Doc 7 Filed 04/15/11 Entered 04/15/11 13:37:43                                            Desc Main
                                                                       SCHDULE   "2"
                                                                           Document      Page 9 of 9


CFCURRENT
                          SCHEDULE OF ANNUAL DEBT SERVICE                                                                                                                      JOHN KUEHL
                                                                                                                                                                               D.A. Davidson & Co.
NAME OF ISSUE:          SID No.517 " THE HAMPTONS " of DOUGLAS COUNTY,NE.                                                                                                      Rev: 11-10-2010
ORIGINAL DATING:        12-15-07                  OPTIONAL:    12-15-12             @ Par
FACE AMT OF BONDS:       $    1,250,000           YEARS TO MATURITY:                        19.00
                                                                                                                                                          (97%)
                                                                                                     PRIOR         TOTAL         TAX        BOND TAX     TOTAL      SPECIALS    INTST    FUND     COVERAGE
 MATURITY     FISCAL       PRINC.        INTEREST      INTEREST      INTEREST                        DEBT            ALL        BASE          LEVY       TAXES                 INCOME BALANCE       RATIO
 NUMBER        YEAR         12-15           RATE         12-15          6-15          TOTAL         SERVICE       ISSUES        (000)        $per$100    RAISED                   0.50%  300,000
      1.00      10-11           25,000        3.95%         28,849         28,355         82,204              0       82,204      20,049        0.0000          0          0       1,500 219,296         2.67
      2.00      11-12           30,000        4.00%         28,355         27,755         86,110              0       86,110      20,049        0.5000     48,619          0       1,096 182,902         2.12
      3.00     12-13            35,000        4.05%         27,755         27,046         89,801              0       89,801      20,049        0.5000     97,238          0         915 191,252         2.13
      4.00     13-14            40,000        4.10%         27,046         26,226         93,273              0       93,273      20,049        0.5000     97,238          0         956 196,174         2.10
      5.00     14-15            45,000        4.20%         26,226         25,281         96,508              0       96,508      20,049        0.5000     97,238          0         981 197,885         2.05
      6.00     15-16            50,000        4.30%         25,281         24,206         99,488              0       99,488      20,049        0.5000     97,238          0         989 196,624         1.98
      7.00     16-17            55,000        4.40%         24,206         22,996        102,203              0      102,203      20,049        0.5000     97,238          0         983 192,643         1.88
      8.00     17-18            60,000        4.50%         22,996         21,646        104,643              0      104,643      20,049        0.5000     97,238          0         963 186,201         1.78
      9.00     18-19            65,000        4.60%         21,646         20,151        106,798              0      106,798      20,049        0.5000     97,238          0         931 177,572         1.66
     10.00     19-20            70,000        4.75%         20,151         18,489        108,640              0      108,640      20,049        0.5000     97,238          0         888 167,058         1.54
     11.00     20-21            75,000        4.85%         18,489         16,670        110,159              0      110,159      20,049        0.5000     97,238          0         835 154,972         1.41
     12.00     21-22            80,000        4.90%         16,670         14,710        111,380              0      111,380      20,049        0.5000     97,238          0         775 141,604         1.27
     13.00     22-23            85,000        4.95%         14,710         12,606        112,316              0      112,316      20,049        0.5000     97,238          0         708 127,234         1.13
     14.00     23-24            90,000        5.00%         12,606         10,356        112,963              0      112,963      20,049        0.5000     97,238          0         636  112,145        0.99
     15.00     24-25            95,000        5.00%         10,356          7,981        113,338              0      113,338      20,049        0.5000     97,238          0         561   96,606        0.85
     16.00     25-26           100,000        5.05%          7,981          5,456        113,438              0      113,438      20,049        0.5000     97,238          0         483   80,889        0.71
     17.00     26-27           105,000        5.05%          5,456          2,805        113,261              0      113,261      20,049        0.5000     97,238          0         404   65,270        0.58
     18.00     27-28           110,000        5.10%          2,805              0        112,805              0      112,805      20,049        0.5000     97,238          0         326   50,029        0.44
     19.00     28-29                 0        0.00%              0              0              0              0            0           0        0.0000          0          0           0        0
     20.00     29-30                 0        0.00%              0              0              0              0            0           0        0.0000          0          0           0        0
     21.00     30-31                 0        0.00%              0              0              0              0            0           0        0.0000          0          0           0        0
                             1,215,000                     341,586        312,738      1,869,324              0    1,869,324                                               0

                                                      TOTAL INTEREST:                    654,324
D.A. Davidson & Co.                                   BOND YEARS:                     13,965,000
                                                      AVERAGE COUPON:                   4.6855%
                                                      DISCOUNT:         10.00%           121,500                               Prev. Val.   Prev. Levy
                                                      ISSUANCE EXPENSES:                  11,685                                   16,308       0.0000
                                                      TOTAL COST:                        787,509
                                                      NIC:                              5.6392%
                                                      AVERAGE PAYMENT:                    98,385
                                                      AVERAGE MATURITY:                    11.49
